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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               )
                                                        )
       Plaintiff,                                       )          1:22-MJ-22-RRM
                                                        )
       v.                                               )
                                                        )
HEATHER R. MORGAN,                                      )
                                                        )
      Defendant.                                        )
__________________________________________


     CONSENT MOTION TO CLARIFY CONDITIONS OF PRETRIAL RELEASE

       Heather Morgan, through counsel, respectfully requests this Court clarify the conditions of

Pretrial Release, to make clear that Ms. Morgan may engage in legitimate employment and receive

income of greater than $10,000 per month. In support of this motion, she asserts the following:


       1.      Ms. Morgan is currently on pretrial release pending resolution of the above

captioned matter.

       2.      Ms. Morgan is under the courtesy supervision of the U.S. Pretrial Office for the

Southern District of New York.

       3.      Per her pretrial release conditions, Ms. Morgan may not “dissipate or move any

assets greater than $10,000 per month” without Pretrial Services’ approval. ECF 24, at 3.

       4.      Ms. Morgan is seeking legitimate employment that she can perform within the

confines of her other conditions of pretrial release.

       5.      Ms. Morgan anticipates that she will receive income greater than $10,000 a month

from such employment.




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       6.      The government has confirmed that it does not view the conditions of release as

precluding such income, and consents to the filing of this motion to eliminate any ambiguity and

clarify that Ms. Morgan is permitted to receive employment income in excess of $10,000.

       7.      D.C. Pretrial Services, represented by Christine Schuck, does not object to this Ms.

Morgan’s employment and income and has asked defense counsel to file this motion to ensure that

the Court approves.

       WHEREFORE, Ms. Morgan respectfully requests that this Court clarify that the

Conditions of Pretrial Release permit Ms. Morgan to receive employment income in excess of

$10,000.


                                             Respectfully submitted,


                                             s/ Eugene Gorokhov
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